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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the followin
© Valuation of Security

items included in the Plan.

~ Assumption of Executory Contract or unexpired Lease

ien Avoidance

Last revised: November 14, 2023

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

In Re: Case No.:
Carol A. Kuhn
Judge:
Debtor(s)
Chapter 13 Plan and Motions
Original [1 Modified/Notice Required Date;_94/01/2024
C] Motions Included [] Modified/No Notice Required

THE DEBTOR HAS FILED FOR RELIEF UNDER
CHAPTER 13 OF THE BANKRUPTCY CODE

YOUR RIGHTS WILL BE AFFECTED

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan

includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

THIS PLAN:

C1 DOES & DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10,

Cl DOES & DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART
7, IF ANY, AND SPECIFY: O 7a/ O7b/ 017 GC:

C1 DOES & DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
MOTIONS._SET FORTH IN PART 7, IF ANY, AND SPECIFY: 0 7a/ O7b/ O7c.

Initial Debtor(s)’ Attorney: __/s/ SLM__initial Debtor. —/s/ CAK Initial Co-Debtor:

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a. The debtor shall pay to the Chapter 13 Trustee $ 1,800.00 monthly for __60 months starting on the

first of the month following the filing of the petition. (If tier payments are proposed) : and then $ per
month for months; $ per month for months, for a total of months.
b. The debtor shall make plan payments to the Trustee from the following sources:

KX! Future eamings

Cl Other sources of funding (describe source, amount and date when funds are available):

c. Use of real property to satisfy plan obligations:

LJ Sale of real property
Description:

Proposed date for completion:

C) Refinance of real property:
Description:
Proposed date for completion:

O Loan modification with respect to mortgage encumbering real property:
Description:
Proposed date for completion:

d. O The regular monthly mortgage payment will continue pending the sale, refinance or loan modification. See also

Part 4.

CI If a Creditor filed a claim for arrearages, the arrearages O will / 0 will not be paid by the Chapter 13

Trustee pending an Order approving sale, refinance, or loan modification of the real property.

e. For debtors filing joint petition:

CL] Debtors propose to have the within Chapier 13 Case jointly administered. If any party objects to joint
administration, an objection to confirmation must be timely filed. The objecting party must appear at

confirmation to prosecute their objection.

Initial Debtor: Initial Co-Debtor:

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a. Adequate protection payments will be made in the amount of $
Trustee and disbursed pre-confirmation to

to be commenced upon order of the Court.)

to be paid to the Chapter 13
(creditor). (Adequate protection payments

b. Adequate protection payments will be made in the amount of $
debtor(s), pre-confirmation to: (creditor).

to be paid directly by the

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a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Name of Creditor Type of Priority Amount to be Paid
CHAPTER 13 STANDING TRUSTEE ADMINISTRATIVE AS ALLOWED BY STATUTE
ATTORNEY FEE BALANCE ADMINISTRATIVE BALANCE DUE: $ 4,250.00

DOMESTIC SUPPORT OBLIGATION

IRS Unsec Priority $95,000.00

NJ Division of Taxation Unsec Priority $7,000.00

b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
Check one:

&! None

CX The allowed priority claims listed below are based on a domestic support obligation that has been assigned

to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
U.S.C.1322(a)(4):

Name of Creditor Type of Priority Claim Amount Amount to be Paid

Domestic Support Obligations
assigned or owed to a
governmental unit and paid less
than full amount.

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a. Curing Default and Maintaining Payments on Principal Residence: 0 NONE

The Debtor will pay to the Trustee allowed claims for arre.
debtor shall pay directly to the creditor monthly obligation

arages on monthly obligations and the
S$ due after the bankruptcy filing as follows:

Name of Creditor

Collateral or Type of Arrearage Interest Amount to be Regular Monthly
Debt Rate on Paid to Creditor | Payment Direct to
(identify property and Arrearage | by Trustee Creditor
add street address, if
applicable)
Flagstar res mtg $0.00 0% $0.00
Debtor shall pay the
Honda Financial auto $1,300.00 0% $1,300.00 regular monthly

payment pursuant to
the terms of the
underlying loan
documents unless
otherwise ordered.

b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: b¥ NONE
The Debtor will pay to the Trustee allowed claims for alrearages on monthly obligations and the
debtor will pay directly to the creditor monthly obligations due after the bankruptcy filing as follows:

Name of Creditor

Collateral or Type of
Debt

(identify property and
add street address, if
applicable)

Arrearage

Interest
Rate on
Arrearage

Amount to be
Paid to
Creditor by
Trustee

Regular Monthly
Payment Direct to
Creditor

Debtor shall pay the
regular monthly
payment pursuant to
the terms of the
underlying loan
documents unless
otherwise ordered.

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c. Secured claims to be paid in full through the
The following claims were either incurred within 910 da
security interest in a motor vehicle acquired for the pers
date and secured by a purchase money security intere

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plan which are excluded from 11 U.S.C. 506: ff NONE

ys before the petition date and are secured by a purchase money
onal use of the debtor(s), or incurred within one year of the petition
st in any other thing of value:

Name of Creditor Collateral

(identify property and
add street address, if
applicable)

Interest
Rate

Amount of
Claim

Total to be Paid Including Interest
Calculation by Trustee

d. Requests for valuation of security, Cram

1.) The debtor values collateral as indicate

secured creditor shall be paid the amount listed as the
The portion of any allowed claim that exceeds that val

identified as having “NO VALUE”

d below. If

-down, Strip Off & Interest Rate Adjustments &{ NONE

the claim may be modified under Section 1322(b)(2), the
“Value of the Creditor Interest in Collateral,” plus interest as stated.
ue shall be treated as an unsecured claim. If a secured claim is

it shall be treated as an unsecured claim.

NOTE: A modification under this Section ALSO REQUIRES
the appropriate motion to be filed under Section 7 of the Plan.

Name of Collateral
Creditor (identify
property and
add street
address, if
applicable)

Scheduled
Debt

Total
Collateral
Value

Superior Liens

Value of Annual Total Amount
Creditor Interest to be Paid by
Interest in Rate Trustee
Collateral

2.) Where the Debtor retains collateral and com

secured claim shall discharge the corresponding lien.

pletes all Plan payments, payment of the full amount of the allowed

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e. Surrender ® NONE

Upon confirmation, the automatic sta

that the stay under 11 U.S.C 1301 sh
collateral:

y is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
all be terminated in all respects. The Debtor surrenders the following

Name of Creditor Collateral to be Surrendered {identify

property and add street address, if
applicable)

Value of Surrendered
Collateral

Remaining Unsecured
Debt

f. Secured Claims Unaffected by the Plan & NONE
The following secured claims are unaffected by the Plan:

Name of Creditor

Collateral (identify property and add street address, if applicable)

g. Secured Claims to be Paid in Full Through the Plan: f NONE

Name of Creditor Collateral (identify Amount

property and add street
address, if applicable)

interest Total Amount to be Paid
Rate through the plan by Trustee

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a. Not separately classified allowed non-priority unsecured claims shall be paid:

CI Not less than $ to be distributed pro rata
XI Not less than 0 percent

Oi Pro Rata distribution from any remaining funds

b, Separately classified unsecured claims shall be treated as follows:

Name of Creditor Basis For Separate Classification | Treatment Amount to be Paid
by Trustee

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(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property
leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the
following, which are assumed:

Name of Creditor } Arrears to be Cured Nature of Contractor | Treatment by Debtor Post-Petition Payment
and paid by Trustee Lease to be Paid Directly to
Creditor by Debtor

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NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of

Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served

a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). } NONE

The Debtor moves to avoid the followi ng liens that impair exemptions:

Name of Nature of Type of Lien | Amountof | Value of Amount of Sum of All Amount of
Creditor Collateral Lien Collateral Claimed Other Liens Lien to be
(identify Exemption Against the Avoided
property Property
and add
street
address, if
applicable)

b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured. ® NONE

The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part
4 above:

Name of Collateral Scheduled Total Superior Liens Value of Creditors | Total Amount of
Creditor (identify Debt Collateral Interest in Lien to be
property Value Collateral Reclassified
and add
street
address if

applicable)

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c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. & NONE

The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on
collateral consistent with Part 4 above:

Name of Collateral Scheduled Total Collateral | Amountto be Deemed Amount to be Reclassified
Creditor (identify Debt Value Secured as Unsecured

property and
add street
address, if
applicable)

d. Where the Debtor retains collateral, upon completion of the Plan and issuance of the Discharge, affected Debtor
may take all steps necessary to remove of record any lien or portion of any lien discharged.

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a. Vesting of Property of the Estate
& Upon confirmation
C1 Upon discharge

b. Payment Notices

Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

c. Order of Distribution
The Trustee shall pay allowed claims in the following order:

1) Chapter 13 Standing Trustee Fees, upon receipt of funds
2) Administrative Priority

3) Secured

4) Priority then Unsecured

5)
8)

d. Post-Petition Claims

The Trustee 1 is, & is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the
amount filed by the post-petition claimant.

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NOTE: Modification of a plan does not re
accordance with D.N.J. LBR 3015-2.

quire that a separate motion be filed. A modified plan must be served in

lf this Plan modifies a Plan previously filed in this case, complete the information below.
Date of Plan being Modified:

Explain below why the plan is being modified:

Are Schedules | and J being filed simultaneously with this Modified Plan? LI Yes [] No

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Non-Standard Provisions:
X&} NONE

() Explain here:

Any non-standard provisions placed elsewhere in this plan are ineffective.

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The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify

that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and
Motions.

| certify under penalty of perjury that the above is true.

Date: 04/01/2024 /s/ Carol A. Kuhn
Debtor
Date:
Joint Debtor
Date: 94/01/2024 /s/ Stacey L. Mullen, Esquire

Attorney for the Debtor(s)

